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(
UN|TED STATES DlSTRICT COURT . ` 1'
WESTERN DlSTRlCT OF TENNESSEE 'u'ED er MD.C.

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UN|TED STATES OF AMER|CA
CLEFi<m?}SAYQ~-“ GOULD

.v- 2:020R20079-02-Ml w,D @FQWMSJUHT
JOEL ALVA

Bruce Griffey, CJA

Defense Attorney

119 South Main Street, Ste. 300

Memphis, TN 38103

*A-M-E-N-D-E-D JUDGMENT |N A CR|M|NAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Counts 1, 2 and 3 of the indictment on October 11,
2002. Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & section M.Mrw_e Offense Nu_mbe_r§l
Conc|uded
21 U.S.C. §841(3)(1). Conspiracy to Possess with intent to 03/03/2002 1
(b)(1)(A) Distribute Cooaine
21 U.S.C. §841(a)(1) and Possession with intent to Distribute 03/03/2002 2
(b)(1)(A) Cocaine
21 U.S.C. §841 (a)(1) Possession with intent to Distribute 03/03/2002 3
and (b)(1)(B) Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for

this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 566-57»8396 Origina| Date of |mposition of Sentence:

Defendant’s Date of Birth: 07/13/1962 January 22, 2003
Deft’s U.S. Marshal No.: 18196-076 *Amended: September 2, 2005

Defendant’s Mai|ing Address:
4544 Winona Avenue No. 22
San Diego, CA 92115

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Thls document entered on the docket sheetcl;;ompi.anca
with Ru|e 55 ar=li,/or 32(!:)) FFiCrP on § fig 32

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ON PHIPPS MCCALLA
UN| ED ATES DlSTRICT JUDGE

September g , 2005

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Case No: 2:02CR20079-02-M| Defendant Name: Joel ALVA Page 3 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 188 Months.

Totai term of One Hundred Eighty-Eight (188) Months imposed under Counts 1, 2 and
3 of the indictment to run concurrently with each other.

The Court recommends to the Bureau of Prisons: Facility in Southwest United
States, preferably in Southern Ca|ifornia.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 Years.

Tota| term of Five (5) Years imposed under Counts 1, 2 and 3 of the indictment to run
concurrently with each other.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1 . The defendant shall not leave the judicial district without the permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ofhcer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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Case No: 2:020R20079-02-Mi Defendant Name: Joel ALVA Page 5 of 5

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofiicer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notihcations and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

;1__. The defendant shall cooperate with DNA collection as directed bv the Probation Oche.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shaii
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$300.00

The Speciai Assessment shall be due immediateiy.

FiNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 160 in
case 2:02-CR-20079 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
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Ste. 800

1\/1emphis7 TN 38103

Bruce I. Griffey

THE HARDISON LAW FIRM- Memphis
119 S. Main St.

Ste. 300

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Honorable .1 on McCaila
US DlSTRICT COURT

